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                  IN THE UNITED STATES DISTRICT COURT
                 PGR THE EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division

 ELIZABETH PASQUINE,

      Petitioner,


 V.                                      Civil Action No. l:22-cv-469



 DIRECTOR OF THE UNITED STATES
 PATENT AND TRADEMARK OFFICE,

      Respondent.

                              MEMORANDUM OPINION


      THIS   MATTER   comes    before    the   Court on Plaintiff's Amended

 Petition for Review       of      an   agency order      sanctioning   her for

 violation of certain United States Patent and Trademark Office

 («USPTO") Rules of Professional Conduct.

      Plaintiff Elizabeth Pasquine (''Pasquine") began working for

 LegalForce as a Senior Trademark Attorney on July 10, 2017. She

 has since left LegalForce on March 29, 2019. LegalForce is a law

 firm that primarily provides trademark legal services, including

 filing    trademark    applications,          trademark     prosecution,     and

 representing    clients      in    Trademark     Trial     and   Appeal    Board

 proceedings.

       Pasquine was the attorney of record in trademark applications

 filed by clients of LegalForce. Part of her job as attorney of

 record was she caused to be prepared, signed, and filed trademark
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 documents on behalf of LegalForce's clients. Pasquine was familiar

 with the signature rules, A7789. She also knew that an improper
 signature    could    render    a   client's    trademark       registration

 vulnerable to cancellation.

        The USPTO uses the Trademark Electronic Application System

 ("TEAS"), an electronic trademark filing and prosecution system.
 Trademark documents are electronically prepared, signed, and filed

 with the USPTO through TEAS. All forms filed on TEAS have to be

 "personally signed" by the named signatory and there are three

 signature methods that may be used for this. The first permissible

 signature method is the "DIRECT Sign" method where applicants

 personally    enter   their    electronic    signatures    by     entering   a

 combination of letters, numbers, spaces, or punctuation marks that

 they use as a signature. Second is the "ESIGN-ON" method where a

 link containing trademark documents that require signatures is

 sent to the applicants, applicants sign those documents, and then

 they are uploaded onto TEAS. This is a common method for law firms

 to use when getting clients' signatures on trademark filings the

 firms have prepared, which then upload them onto TEAS. Third is

 "the   old-fashioned[,]    pen-and-ink      signature"    where    applicants

 print the filings, sign them, scan them onto the computer, and

 upload them onto TEAS.

        LegalForce's signature practice for trademark filings with

 the USPTO was done by the firm's non-practitioner assistants
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 located in Nagpur, India. Pasquine did not inquire into whether
 signatures on trademark documents she filed were permissibly-
 signed by the clients, she just assumed the ESIGN-ON method was

 used. On June 8, 2018, a LegalForce assistant stated in an email

 that a trademark declaration had not been signed by the client
 personally and so the assistant, following LegalForce's practice
 as he understood it, signed on behalf of the client. The assistant

 believed that the client had approved the form and thus he could

 fill In. the client's name on their behalf. Pasquine became aware
 of this incident the following month.

       On October 17, 2018, December 11, 2018, and March 22, 2019,

 the USPTO Office of Enrollment and Discipline ("OED") sent requests

 for   information     ("RFI")    to   Pasquine    about    the   allegedly

 impermissible signature practice. The RFI included a list of

 trademark documents that were filed with her as the attorney of

 record and requested information about who entered the signatory's

 name in the signature block on those filings. Pasquine responded

 that she properly used the ESIGN-ON procedure to obtain clients'

 signatures on those particular documents in question. However,

 Pasquine did not provide OED with proof that the ESIGN-ON method

 was used and she had no personal knowledge about the firm's

 procedures for client signatures on trademark documents.

       The USPTO has a system called the Trademark Image Capture and

 Retrieval System ("TICRS"). The TICRS contains Internet Protocol
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 ("IP") addresses and extensible Markup Language ("XML") data
 regarding trademark submissions. When a trademark document that

 uses the DIRECT sign method is filed, the IP address identifies

 where the submission to TEAS was made, and the XML data reveals

 how the document was signed. The USPTO's metadata evidence shows

 Pasquine was an attorney of record for trademark filings where the
 DIRECT method was used to enter client signatures, yet the clients'

 locations differed from the locations where the filings were signed
 and uploaded. When the DIRECT method is properly used, the clients'

 location would match the locations from where the filings were

 signed and uploaded onto TEAS.

       Pasquine learned no later than January 29, 2019 that this

 impermissible signature method may have affected thousands of

 trademark documents LegalForce handled. Pasquine confirmed that

 the non-practitioner assistants were improperly entering client

 signatures because of the absence of ESIGN-ON method emails in

 LegalForce's internal email system. An ESIGN-ON method email are

 emails that would have been sent from LegalForce to clients for

 obtaining signatures through the ESIGN-ON method. On February 1,

 2019,   LegalForce's    Managing    Attorney   sent   a   firm-wide   email

 acknowledging that its impermissible signature practice may have

 been widespread.

       As an attorney at LegalForce and the attorney of record in

 many of these trademark applications, Pasquine could have reviewed
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 and approved assistants' work to ensure they properly obtained

 client    signatures     on    trademark      documents      before   they     were
 submitted on TEAS. However, Pasquine failed to review the work of

 assistants and to catch the use of impermissible signatures.
 Further, once Pasquine learned of the impermissible signature

 practice being used, she did not contact her clients to alert them

 of the issue and advise them of its potential impact. The owner of

 LegalForce, Raj Abhyanker, sent emails to some of Pasquine's

 clients to confirm that the client approved and signed all

 trademark documents filed on TEAS. Abhyanker's email also warned

 that the USPTO might send a letter to ask about their signatures

 on documents and that they should speak to independent counsel

 before responding to the agency since their responses may affect

 their trademark rights.

       On July 2, 2019, the OED Director filed a Complaint and Notice

 of Proceeding against Pasquine that alleged multiple violations of

 the USPTO Rules of Professional Conduct. On February 11, 2020, an

 Administrative Law Judge (^^ALJ") conducted a hearing and on August

 13, 2021, the ALJ issued an Initial Decision. The Initial Decision

 concluded that Pasquine did not exercise reasonable diligence

 under    37   C.F.R.   SEC    11.103   when   she   failed    to   determine    how

 LegalForce     non-practitioner        assistants    were     obtaining      client

 signatures and filing documents with the USPTO, and when she failed

 to ensure her clients' matters were handled properly. The ALJ also
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 concluded that she violated 37 C.F.R. §§ 11.104(a)(3),(b) because

 she   never   directly   inquired    with   her   clients   or   the   non-

 practitioner assistants about who signed the trademark documents

 for which she was an attorney of record, despite learning that

 thousands of LegalForce's filings with the USPTO could have been

 affected by the impermissible signature practice. Further, she

 violated this rule by not informing her clients about the problem
 and that it could have affected their applications and registered

 trademarks. In accordance with 37 C.F.R. § 11.54(b), the ALJ found

 that Pasquine violated duties owed to her clients by not ensuring

 their matters were handled with reasonable diligence and that she

 failed to communicate to her clients the likelihood that their

 trademark applications had been affected. The ALJ also found that

 Pasquine's negligent conduct had the potential to cause actual

 injury to the clients, because their registrations could have been

 subject to cancellation. The ALJ found that three aggravating

 factors were present. First, that Pasquine engaged in a pattern of

 misconduct. Second, she committed multiple offenses under the

 USPTO Rules of Professional Conduct. Third, she had substantial

 experience in the practice of trademark law. Given these findings,

 the ALJ determined the appropriate sanction for Pasquine was a

 public reprimand and 12 months of probation.

       Following the ALJ's decision, the USPTO Director agreed that

 Pasquine failed to diligently represent her clients and failed to
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 reasonably inform her clients about the impermissible signature
 practice once she learned about how it affected their trademark

 applications and registrations. Thus, the USPTO Director affirmed

 the ALJ's decision and did not change the sanction of a public
 reprimand and 12 months of probation.

        Judicial review of a USPTO Director's final decision is

 provided for in 35 U.S.C. § 32. That review is governed "according
 to the provisions of the Administrative Procedure Act." Bender v.

 Dudas, 490 F.3d 1361, 1365 (Fed. Cir. 2007). Only the final agency
 action can be scrutinized. See, e.g.. Faro v. USPTO, 2016 WL

 10788425, at *4 (E.D. Va. July 29, 2016) (citing FTC v. Standard

 Oil Co., 449 U.S. 232, 246 (1980)), aff'd, 697 F. App'x 1025 (Fed.

 Cir.   2017). This    Court reviews "the       decision of     the   [USPTO

 Director], not that of the ALJ." Starrett v. Special Couns., 792

 F.2d 1246, 1252 (4th Cir. 1986) (citation omitted). In cases of

 USPTO discipline, "[w]hen reviewing agency decisions, the standard

 is ^highly deferential, with a presumption in favor of finding the

 agency action valid'" Haley v. Under Sec'y of Com, for Intell.

 Prop., 129 F. Supp. 3d 377, 381 (E.D. Va. 2015)(quoting Ohio Valley

 Env't Coal. V. Aracoma Coal Co., 556 F.3d 177, 192 (4th Cir.

 2009)).

        A court's role under this standard is only "to determine

 whether the record reveals that a rational basis exists for [the]

 decision." Manufactured Hous. Inst. v. EPA, 467 F.3d 391, 398 (4th
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 Cir. 2006) (quoting Natural Res. Def. Council v. EPA^ 16 F.3d 1395,
 1401 (4th Cir. 1993)). The court may reverse the USPTO's decision

 only if it is "arbitrary, capricious, an abuse of discretion, or
 otherwise not in accordance with law," Bender, 490 F.3d at 1365-

 66.


       The first conclusion of the USPTO Director was that Pasquine
 failed to act diligently and promptly in representing her clients
 before the USPTO in violation of 37 C.F.R. § 11.103. There is a

 rational basis for this conclusion and thus it was not a clear

 error in judgement.

       The rational basis for this conclusion includes that Pasquine

 never verified whether certain trademark documents she filed on

 TEAS bearing client signatures were actually permissibly signed by

 them. She only assumed the ESIGN-ON method was used by the non-

 practitioner assistants to obtain the signatures without having

 any verification or personal knowledge. From January 2018 to June

 2018, Pasquine was the attorney of record on many trademark

 documents    that   the   DIRECT   method   was   used   to   enter   client

 signatures. However, the clients did not sign those documents

 directly, non-practitioner assistants did. As admitted by a

 LegalForce     non-practitioner      assistant     on    June    8,   2018,

 LegalForce's "regular practice" at that time was to "sign[]

 [documents] on behalf of the client[s]."
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        Pasquine argues her involvement with the trademark documents

 was limited to being the attorney of record and she did not

 personally handle the filing or review of those documents. Further,

 she argues she should not bear the consequences of what other

 attorneys of record may have done in approving documents with

 impermissible signatures. However, the USPTO Director found that

 Pasquine caused to be prepared, signed, and filed trademark

 documents    on     behalf      of    LegalForce     clients   in     trademark

 applications for        which   she    was the     attorney of      record and

 applications      for   which    another   LegalForce      attorney    was   the

 attorney of record. Pasquine was also able to communicate with the

 non-practitioner        assistants     about   the    filing   of     trademark

 documents but never inquired about whether the signatures were

 permissibly obtained.

        Pasquine attempts to argue the USPTO Director applied a strict

 liability standard when coming to a decision here. However, as

 appearing from the record, the USPTO Director considered all of

 the    circumstances     surrounding     Pasquine    and   LegalForce    before

 concluding she acted unreasonably and violated 37 C.F.R. §§ 11.103,

 11.104(a)(3),(b). The USPTO Director found that Pasquine ^^relied

 on a variety of assumptions with regard to LegalForce's signature

 policies and, had she exercised reasonable diligence, she should

 have    ensured    that    assistants      were     appropriately     obtaining

 signatures on trademark documents."
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       The second conclusion the USPTO Director came to is that

 Pasquine failed to keep her clients reasonably informed about the
 impermissible signature practice at LegalForce and the potential
 consequences thereof in violation of 37 C.F.R. § 11.104(a)(3),

 (b). There was a rational basis for the USPTO Director's conclusion

 that Ms. Pasquine violated 37 C.F.R. §§ 11.104(a)(3),(b) and this

 was not a clear error in judgment.

       Pasquine    should    have   contacted    her   clients   about    the

 impermissible signature practice and the possible consequences to
 their trademark documents when the OED sent her a RFI on October

 17, 2018. The RFIs detailed the potentially improper client

 signatures on certain trademark documents that Pasquine was the

 attorney of record. She had two additional opportunities to notify

 her clients when RFIs were sent on December 11, 2018 and March 22,

 2019.


       Pasquine    raises   efforts   LegalForce    undertook    to   contact

 clients affected by the signature practice that she believes the

 USPTO Director overlooked. However, there was a reasonable basis

 to conclude they insufficiently communicated the impermissible

 signature practice and failed to advise clients of the possible

 consequences and remedial steps that should be taken. Nothing

 brought forward by Pasquine excuses her failure to contact her

 clients about the practice nor does it demonstrate the USPTO

 Director's conclusion was a clear error of judgment.

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       Lastly, the USPTO Director decided a disciplinary sanction of

 public reprimand and 12 months of probation under 37 C.F.R. §

 11.54(b)    was   appropriate    because    Pasquine's      conduct    caused

 significant potential injury to her clients.

       Pasquine attempts to argue that her conduct was not likely to

 cause potential injury to her clients because there is a myriad of

 solutions when trademark applications are rejected, or registered

 trademarks are canceled due to an impermissible signature on a

 document. The Court agrees with the USPTO Director discounting

 these solutions because Pasquine never undertook remedial action

 to limit the potential injury to her clients.

       Pasquine insists her discipline is not commensurate in scope

 with her unethical conduct and that she should not have received

 the same sanction as the two other LegalForce attorneys disciplined

 for   the   impermissible     signature    practice.      However,    Pasquine

 clearly     violated   established    regulations      governing      attorney

 practice    and   conduct   before   the   USPTO.   The    USPTO   Director's

 sanctions of a public reprimand and 12 months of probation have a

 rational basis and are not clear errors of judgment in light of

 Ms. Pasquine's violations of 37 C.F.R. § 11.103 and 37 C.F.R. §§

 104(a)(3),(b).

       For the foregoing reasons. Plaintiff's Amended Petition for

 Review should be denied and the USPTO Director's decision should

  be affirmed.


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       An appropriate Order shall issue.




                                           CLAUDE M. HILTON
                                           UNITED STATES DISTRICT JUDGE

 Alexandria, Virginia
 May 2^' 2023




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